
OPINION OF THE COURT
PER CURIAM.
This matter came before the appellate panel upon a motion for emergency hearing (D.E. 4) and motion to expedite order to show cause and final determination on writ of certiorari (D.E. 3) filed by the petitioners with the petition for writ of certiorari and complaint for declaratory and injunctive relief (D. E. 1).
It is the unanimous opinion of this appellate panel that the Circuit Court in its appellate capacity has no jurisdiction to consider by certiorari the action taken by the Board of County Commissioners.
The circuit court clerk is respectfully requested to assign at random this case from this appellate panel to a trial division of the circuit court.
APPEAL DISMISSED Lupo, Oftedal, and Poulton concur.
